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November 14, 2006

Sy Fucainiile 32/64 1-42.26
Mr. Tom Crooks

Three First National Plaza
Suite 1950

Chicago, EH. 60602

Re: Soskin, et. al v. Esralew
Our File No, E-6i11

Near Tom:

You have probably already received Judge Goldgar’s Order denying our mation for
summary Judgment. Accordingly, [have enclosed our proposed stipulations in accordance with
his Final Pretrial Order, together with the Exhibits we will include in our Exhibit list. Each of our
proposed stipulations is cited to the record in our recently fled 7046-1 Statement.

Please advise if you are willing to stipulate to these facts and documents. Thank you.

Enel.

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Wharkerupiulisk Wee ACT YE wsralew addy sagkintcorrespandencesl nooks lr 11-13-06, 4 pd

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Is THE UNITED STATES BANKRUPTCY COURT
NORTHERN GISTRICT OF ELLINOUS, LASTLRN DIVISION

)
}
VICKi ESRALEW )
}
Dehtor, }
}
}
ROLLIN SOSKIN, et. al. )
}
Plaintiffs } Na. 04 A 3774
}
v. } Judge Goldgar
}
VICKI ESRALEW }
}
Defendant }
SPTIPULATIONS
The parties hereto stipulate to the following facts:
t In £993, Vicki Fsralew (“Esralew'} oreanized an Illinois campany called Enviar

Reads, Inc., which eventually changed tls name to Imagine Sollware Corporation and, then, Kids
Count Entertamment, Ine.

2. Kids Count Entertainment J.C (Kids Count") is an Dlinais limited Hability
company currently existing and in good standing in the State of Illinois.

3, At all relevant tines, the “managing member” of Kids Count was Kids Count
Fritertainment, Inc.

4. Linpene Terry (erry) is retired, after practicing law until he was about 55. Itis

I is fron University of Chicago; and he has also taken accounting courses over the years to
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understand the basics of financial sialements.

5. Rollin Seskin (Soskin’?} was employed by ‘lcrry’s firm and later became a
fariner in same.

. Terry was responsible for making financial decisiens while owning and operating
a company kncryn as Precision Carbide and is familiar with financial statements. [le has
reviewed in excess of 100 balance sheets during his career; and has inspected others. ]Je also his
extensive farnailiarity with business plans, strategic plans and marketing plans.

7. soskin has been an attorney since 1979, a CPA since 1975, and is also the trustee
al several (rusis. [Te is a general practitioner with a heavy emphasis on eslule planming, lax and
business transaclions, Te does anything a businessman needs.

Ht, Soskin acted as a registered agent for Lnivar Roads, Inc. and Kids Count
Enterlainmeni, ne. until 1993.

Q In June or July of 1998 , Esralew told Soskin about a new business venture and
invited him to came sce her operation.

10. Soskin mel wiih Fsralew in October 1998, and Esralew asked him tf he knew of
any possible investors in Kids Count.

1). When Soskin met wiih Esvalew, she didn’t have any financial slatemenis for the
past 4 or 5 months.

12. Soskin belicved that Esralew's ideas had merit and that she just needed proper
investors, [Te thought about the Terrys, who were successful in business and had money to invest.

E3. Soskin knew that another corporate entity was the manager of Kids Count.

L4. Soskin understood the purpose of Kids Count to be the creation and sale of child
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friendly, nonviolent/cducational procluct.
15, Soskin introduced Esralew to ‘Terry and Terry’s wile, Nicole, during the first len

days of November.

16. Estalew impressed the Terrys as someone who was creative bul could not run a
business,
17. ‘The ‘Terrys mei with Esralow, cither al Hsralew’s house or Suskin's house, for al

icast 4 - 5 hours, during which Terry learned about the background and business of Kids Couni.

18. Terry never requesied documents regarding the ercation of the company but knew
it was an limited liability company.

14. Fsralew told Soskin and the Terrys thal she was convinced that if the company
could pel an infomercial on the air belore Christmas, it would be a huge success, but that tle
company needed Junding to produce an infomercial.

20, After meeting with Esralew, the Terrys did same field work to determine where
Kids Count’s products were sold.

21, ‘Terry also asked for a six month cash flow statement, as the investtncnt he was
considering making in Kids Count was to get the company through 3 - 6 months.

22. After receiving @ sia menih eash Mow statement, which he believes was prepared
by Soskin, Terry reduced the projected salaries for Soskin and Esralew, roquested further
information about placement fees, and prepared a memorandum for Soskin rcaarding the
livestment he was prepared to make in the business and detatling the amount of moncy he was
willing to invesi in the company to gel. through the production of an infomercial.

23, Fstalew. Soskin and the Terrys thereafter had several meetings, including a 10
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hour marathon mecting at Soskin’s heuse during which Esralew gave sales projections, the
partics looked ai spreadsheets showing possible projecied revenues and expense based upon
cerlain assumptions, and Terry asked Soskin him to help Esralew develop proper documents for
him to analyze as an investor.

24, Terry insisted that Seskin be involved In the process of determining, whether to
make an itvesiment in Kids Count.

25, Seskin produced spreadshects from ihe information Fsralew had given to Terry,
and he, Terry and Esralew al) asked questions and provided input.

28, All of the parties agreed that the value of Kids Count in November 1998 was $2.5
million.

27, From the time the parties were first introduced, they were talking everyday and a
substantial amount of time was spent mecting and discussing things before an agreement was
reached.

2k. On November 22, 1998, the parties enlered tato a Memeorandum of Agreement
(“Agreement”) which was prepared by Soskin alter 2 or 3 drafts with input from all of its
parties,

7, Lach party properly investipated the circumstanecs and condition of Kids Count.
hefore enlering into the Agreement.

30. At the lime the Agreement| was signed, 94% of Kids Count was owned by Kids
(Count Enterlamment, Inc, and 6% was owned by unrelated parties.

3]. Terry and Saskin agreed that Kids Count owed $809, 533 to outside creditors und

$196, 445 to Esralew al the lime the Agreement was signed,
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32. At the time the Agrecment was signed, Soskin undersieod that the parties agreed
that he and the ‘Terrys were to have equal conirel aver the use of Kids Count funds and that the
‘Terrys were to lmvest moncy as needed over a limited period of time for limited uscs.

33. Al the lime Terry signed the Agreement, he had Kids Count’s financial statement,
had asked additional questions and had modilied his initial proposal.

34, Aljl of the information Jerry had becn given scemed sufficient to make @ decision
io make an investment in Kids Count; and he believes that all of ihe other questions he had were
answered,

35. Terry and Soskin were to be directors of Kids Count and Usralew was ta be
responsible lor designing new products.

3A. Fsralew had represented hersell la Terry and Soskin to be only a creative type ol
person who needed help with day lo day management.

37.  Esralew told Terry and Soskin that she wasn't good at management.

38. ‘Lorry was only willing to mvesi in Kids Count if Soskin was invelyed to manage
the details.

39, Soskin was to help with cash flow issucs and check authorization because Esralew
claimed those things had caused past failures in the history of the company.

Af), Soskin belicved that Lsralew was incapable of keeping records wilhoul someone
else doing it.

41. Terry wanled Raralew treed up to focus on the creative side of the business.

42. Shortly after the Agreement was slencd, Terry advised Esralew and Soskin ihat he

wanled to meet twice a month with therm io discuss the status of the company.
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43. The documents Terry relied wpen to lown money lo Kids Couni. indicated that Kicls
Count would require between $200,000 and 250,000 trom December 1998 through February
19g,

44. Terry was to receive a note converible into a 10% ownership interesi of Kids
Count, based upon the $2.5 million valuation he had placed on the company.

45. It was ‘Verry’s idea to treat the investment as a loan convertible inion ownership so
thal he would be a secured creditor rather than a stockholder.

45, Harris Bank hacl a lien on the assets of Kids Count Entertainment, Inc., but Seskin
and Terry felt thal Terry was first in Hne on the assets of Kids Count.

46. Kids Count’s products were Jack’s Attic, Jack’s [louse, an exercise video, Music
called Home, and a partially completed game called SpurziedjUsalew Dep. pp. 123, 124]

A}. ‘he purpose of Terry’s investment was lo provide cash Mow to produce
infomercials for which Terry and his wile submitted sugacslions.

48. Terry was nul prepared to invest 2 lump sum, but was prepared to invesl as much
as $250,000, depending on what the company needed as far as cash flow.

49, Terry watched the company’s sales figures and deposited checks day to day or
weck do week for the cash flow required, based upon information Seskin presented to him,

50, Terry knew thal sometimes there was nol enough cash flow to cover payables
during the first four months of 1999,

Sl. Terry saw communications to Saskia from Joanne Livingston, onc of Kids
Count’s cmployces, secking immediate assistance with cash flaw issucs.

32. Soskin was in charge of accounts payables and accounts receivables; nadhing
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could go out of the company without his approval.

Al. The ‘Verrys made receivable loans by writing check te Kids Count.

54. A $27,000 loan to Kids Count by the Terrys, based upon receivabies [rom
Thscovery Toys, was repaid. |Soskin Dep. pp 43 - 45]

55. ‘Terry believes ihal ihe money he advanced to Kids Count was a loan and that he

had the right to convert his loan into stock of the company or just get paid back with interesl.

56. Terry was also given a securtly mlerest and an assignments of Kids Count’s
recelvabics,

37. Some al Terry's advances to Kids Count were repaid from its receivables.

38. Terry was not asked to advance additional funds to the company in January 1999,

59. Kids Count had conlracled with Robert Blagman (“Glagman”) to produce an
infomercial before meeting the Terrys.

6.  Blagmnan was to produce the infomercial and choose air times because Kids Count
was not an expert al. picking times.

Gl. Kids Count slurled shooting (he infomercial right after the Agreement was signed,
over Thanksgiving weekend,

62, _Blagman purchased the media and introduced Esraiew io the people who shot the

commercial,
63. Soskin thinks Blagman was terrible.
64, It towk forever to gel post-production work done on the infomercial.
65. Soskin believed that the script for the infomercial was so bad and confusing that

he and Terry’s wife finally rewrote it.
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66. Terry doesn’t believe Blagman succeeded in what was represented lo him.

67. Terry doesn’t believe Blagman did a gowd job buying media ime.

68. Kids Count’s infomercial aired fram December 23 , 1998 through about January
20, 199d.

6% Kids Count’s informercial resulted in a lot of response, but legs than 30% of the
ealls were converted into purchases.

7. By the lime Kids Coumi started getting a betier response fram the miomereial, it
was Gul of media money,

TI. Terry believes that Esralew gave her best effort to make the infomercial a success.

72. In Jate January of 1999, ‘Terry expressed his belief that the informercial would
“not produce a posilive cash flow” but that Esralew “has done a fantastic job getting us this far”.

73. In fate January of 1999, ‘Terry believed that one of the reasons the infomercial was
nol successful was that Esralew was not being perceived by consumers as an “expert” and that an
alternative would be “te hire an ccucational expert or organization to endorse the product and
then redo the ad”, huwever, he recognized that this would require more funds than Kids Count
had or to which tl had access.

74, In late January of 1999, Verry suggested thal Kids Cound seek out new Investors,

75. Blagman owed Kids Count cither time or money.

76. Tt was decided that only Soskin would deal with Blazman.

7? On May 3, 1999, Soskin informed Glagman by letter that he had “heen asked to
file claims against you for breach of contract, breach of fiduciary duty and conversion of funds” .

7s. On May 9, 2005, Blagman wrote Soskin that he “would no longer communicate
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with (Lsralewy"

79, Terry knew Kids Count was in financial trouble and that bis investment was at
risk,

80. ‘Perry clicl not independently seck any invesiors.

81. None of the Plaintiffs disagreed with Fsralew's desire to bring new investors into
Kids Count.

#2. Tetry met with Peter Abruzzo (“Abruzzo”) to discuss Investing capital into the

company, but Abruzzo did net bring any new investors into the company.

#3. Soskin also met with Abruzzo in l'ebruary 1999, to discuss a potential
invesiment, however, he didn’t negotiate with Abruzzo.

aR. Fsralew asked Terry to meet with a Joanne Marlowe regarding a potential
investment, huwever, Terry asked Soskin to meet with Marlowe iastcad.

89. ‘Terry is nol aware of any additional investors actually investing money in Kids
Count.

90. By February 1999, Kids Count’s business was about the same as it was belore
Soskin and the Terrys got invelved.

1, Qn April 28, 1999, Terry, Soskin and Fsralew met to discuss the slalus of the
company, Tdising moncy, a possible bankruptey anc calling a eveditors meeting,

92. At the April 28, 1999 meeting, Soskin said that some of the options Kids Count
should consider were bankruptey ancl an assignmicnt for the benefit of creditors. The parlicipants
inthis mecting also discussed cutting back all overhead costs to a minimum as well as having

Psralew travel around the country Lo promote the company’s products, but no discussion as tu
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how ils travel would be funded; and no plan of any kind was put into operation.

93. By May of 1999, Kids Count was unable to pay its bills.

4 Soskin has no idea what business Kids Count did after May 1999,

qs, On November 15, 2000, Esralew wrote to the ‘lcrrys with a plan to pay Kids
Counl’s creditors, including the Terrys, by licensing Kids Count’s products to a new company to
he formed; and sought the ‘lcrry’s consent to this arrangement.

96. On and afler January [, 2000, Kids Count entered inte distribuitun and licensing
agreements for the purpose of continuing to sell Kids Count products, including agreements with
Vickilew, LLC., a Delaware limited liability company, and Good Sector L1.C, another [inois
limited liability corporation, All of these agreements recite that Kids Count is the owner of the
products and copyrights for Lie products Lo be sold and provide that Kids Count was to be pard

marketing lees and/or minimum and percentage royalty payments in conneetion with such sales.

Plaintiff: Defendant
ny: By:

One of her attomeys One of their attorneys
Carey Stcin ‘Thomas Crooks
ASHMAN & STEFIN #37710 Three First National Plaza
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